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Effective Date: June 8, 2012
Updated: July 31, 2015

The following Subscription, Authentication and Mobile Products Terms and Conditions govern your
use of the subscription, authentication and mobile products offered by the NFL from time to time.
These Subscription, Authentication and Mobile Products Terms and Conditions supplement the Web
site Terms and Conditions, which can be found at www.NFL.com/help/terms and are incorporated
herein by reference. All defined terms not otherwise defined herein have the meaning ascribed to
them in the Web Site Terms and Conditions.

The NFL is currently offering the following subscription, authentication and mobile products:

(a) NFL Game Pass (International) (available to users outside of the United States, Mexico,
Bermuda, Antigua, the Bahamas, and any U.S. territories, possessions and commonwealths
(including American Samoa, Guam, Puerto Rico and the U.S. Virgin Islands (collectively, the "NFL
Game Pass International Excluded Territories"): includes access to live and archived video of
NFL preseason and regular season games, NFL Network and NFL RedZone;

(b) NFL Game Pass (Domestic) available to users in the United States, Mexico, Bermuda, Antigua,
the Bahamas, and any U.S. territories, possessions and commonwealths (including American
Samoa, Guam, Puerto Rico and the U.S. Virgin Islands (collectively, the "NFL Game Pass
Domestic Included Territories"): includes access to live and archived video of NFL preseason
games, archived video of regular season games);

(c) NFL Network Online (access to live online video streaming of NFL Network)

((a) - (c) collectively, the "Subscription Products");

(d) NFL Network and NFL RedZone Authentication Products (access to live online streaming of NFL
Network and NFL RedZone available to customers who subscribe to NFL Network and NFL
RedZone with certain authorized television providers) (the "Authentication Products", and
together with the Subscription Products, the "Products"); and

(e) NFL Mobile, "NFL" and other NFL mobile applications.

We have contracted with a third party (currently NeuLion, Inc.) to operate the above listed
Subscription Products, ((a) - (d)), on our behalf.

1. Access to the Subscription Products and Authentication Products

Access to certain of the Subscription Products is limited to residents of certain geographical
territories, as follows:

(a) NFL Game Pass (International) is only available to users located outside of the NFL Game Pass
International Excluded Territories. You are not authorized to use NFL Game Pass (International) if
you are located in any of the NFL Game Pass International Excluded Territories, and you agree not
to access or attempt to access NFL Game Pass International from any of the NFL Game Pass
International Excluded Territories.

(b) NFL Game Pass (Domestic) is only available to users within the NFL Game Pass Domestic
Included Territories. You are not authorized to use NFL Game Pass (Domestic) if you are located
outside of any of the NFL Game Pass Domestic Included Territories, and you agree not to access or




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attempt to access NFL Game Pass (Domestic) from any territory outside of the NFL Game Pass
Domestic Included Territories.

(c) NFL Network Online is only available to users located outside the United States, Canada,
Mexico, and any U.S. territories, possessions and commonwealths (including American Samoa,
Guam, Puerto Rico and the U.S. Virgin Islands (collectively, the "NFL Network Online Excluded
Territories"). You are not authorized to use NFL Network Online if you are located in any of the NFL
Network Online Excluded Territories, and you agree not to access or attempt to access NFL Network
Online from any of the NFL Network Online Excluded Territories.

(d) NFL Mobile is available to all mobile users on a cross-carrier basis. However, certain content
contained in the NFL Mobile application shall be exclusive to Verizon Wireless customers and/or
within select countries.

(e) The Authentication Products are only available in the United States to subscribers of NFL
Network and/or NFL RedZone who have an account in good standing with an authorized distributor
of NFL Network and NFL RedZone.

2. Registration, Username, Password, Security

(a) Registration. Registration is required for the use of the Products. We will not grant any user
access to the Products unless he or she has completed the necessary registration and paid the fees,
if any, associated with access to such Products.

(b) Username and Password. Your username and password will be your identity for purposes of
accessing the Products.

3. Special Terms and Conditions Applicable to Subscription Products

We reserve the right to modify the price of any Subscription Product. We are not responsible for any
error in copy or images relating to any Subscription Product. The specific Subscription Products and
range of payment options (e.g., season, monthly) offered each NFL season may change in our sole
discretion.

In order to purchase a Subscription Product, you may be required to provide complete and accurate
personal information, including, without limitation, your name, address, telephone number, e-mail
address, credit card information and billing address. Our Privacy Policy explains how such
information collected via the Site may be used by us. Your ability to purchase Subscription Products
is subject to limits established by your credit card issuer. You must notify us immediately of any
change in your credit card information, including any change to your home address. By utilizing a
credit or debit card for purchase of any of the Products offered for purchase through the Site, you
authorize us to charge such card on a periodic basis as specified in the amount described on the
applicable Subscription Product purchase path(s).

Billing and Automatic Renewal Policies for Certain Subscription Services

(a) For NFL Network Online - Monthly Subscription, the term begins when you purchase, with
monthly billing during each month of the year. Your subscription will automatically renew each
month, unless you cancel your monthly subscription in accordance with the applicable instructions.
To cancel your monthly subscription, you can send an e-mail to nflonline.support@nfl.com, call
customer support at (407)-936-0867 between the hours of 12:00 pm and 10:00 pm ET, chat with a
customer support representative at NFL.com/subscriptionsupport, or use the online form found on




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your "My Account" page. Cancellation will become effective as of the next monthly billing cycle
following receipt.

(b) For Subscription Products billed on a seasonal basis in Canada (e.g., NFL Game Pass
(International) - Season Plus Subscription, NFL Game Pass (International) - Season Subscription),
the term begins when you purchase and ends on the last day of the NFL's Regular Season
(approximately January 1), with one-time billing immediately following your purchase. If you elected
to pay in monthly installments, you agree to pay the total cost during the term of the Subscription
Product you selected in the number of equal installments identified during your purchase. The first
installment will be billed immediately upon your subscription and the remaining number of
installments will be billed on a monthly basis thereafter until your total subscription price has been
paid. If you cancel your Subscription Product before making all of the installment payments, you
agree to pay the remaining unpaid balance of the Subscription Product you selected. Unless you
elect not to participate in the auto-renewal option, your seasonal subscription will automatically
renew on approximately August 1 of the next year at either the previous year's U.S. Dollar full
season rate for the applicable Subscription Product or the current year's U.S. Dollar full season rate
for the applicable Subscription Product, whichever is lower, for the entire NFL Regular Season
(notwithstanding any lesser amount that you may have paid as a result of subscribing to the
Subscription Product after the start of the NFL Regular Season for the previous year or because of
changes in currency exchange rate). However, if the NFL has set a price in your local currency, you
will be renewed at the previous year's local currency full season rate for the applicable Subscription
Product or the current year's local currency full season rate for the applicable Subscription Product,
whichever is lower, for the entire NFL Regular Season (notwithstanding any lesser amount that you
may have paid as a result of subscribing to the Subscription Product after the start of the NFL
Regular Season for the previous year).

To cancel the annual automatic renewal feature, you can send an e-mail
to gamepass.support@nfl.com, call customer support at (407)-936-0867 between the hours of 12:00
pm and 10:00 pm ET, chat with a customer support representative at NFL.com/subscriptionsupport,
or use the online form found on your "My Account" page.

(c) For Subscription Products billed on a seasonal basis other than in Canada (e.g., NFL Game Pass
(International)- Season Subscription, NFL Game Pass (International) - Follow Your Team
Subscription) the term begins when you purchase and ends on the last day of the NFL's Regular
Season (approximately January 1), with one-time billing immediately following your purchase. If you
elected to pay in monthly installments (other than for the Follow Your Team Subscription which does
not have monthly installment payments as an option), you agree to pay the total cost during the term
of the Subscription Product you selected in the number of equal installments identified during your
purchase. The first installment will be billed immediately upon your subscription and the remaining
number of installments will be billed on a monthly basis thereafter until your total subscription price
has been paid. If you cancel your Subscription Product before making all of the installment
payments, you agree to pay the remaining unpaid balance of the Subscription Product you selected.
Unless you elect not to participate in the auto-renewal option, your seasonal subscription will
automatically renew on approximately August 1 of the next year at either the previous year's U.S.
Dollar full season rate for the applicable Subscription Product or the current year's U.S. Dollar full
season rate for the applicable Subscription Product, whichever is lower, for the entire NFL Regular
Season (notwithstanding any lesser amount that you may have paid as a result of subscribing to the
Subscription Product after the start of the NFL Regular Season for the previous year or because of
changes in currency exchange rate). However, if the NFL has set a price in your local currency, you
will be renewed at the previous year's local currency full season rate for the applicable Subscription
Product or the current year's local currency full season rate for the applicable Subscription Product,
whichever is lower, for the entire NFL Regular Season (notwithstanding any lesser amount that you
may have paid as a result of subscribing to the Subscription Product after the start of the NFL




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Regular Season for the previous year).To cancel the annual automatic renewal feature, you can
send an e-mail to gamepass.support@nfl.com, call customer support at (407)-936-0867 between the
hours of 12:00 pm and 10:00 pm ET, chat with a customer support representative
at gamepass.support.nfl.com or use the online form found on your "My Account" page.

(d) For Subscription Products billed on an annual basis (e.g., Subscription, NFL Game Pass
(International) - Season Plus Subscription, NFL Game Pass (Domestic) - Season Subscription, NFL
Game Pass (International) - Season Subscription) the term begins when you purchase and ends
before the start of the following year's NFL Preseason (approximately July 31), with one-time billing
immediately following your purchase. If you elected to pay in monthly installments, you agree to pay
the total cost during the term of the Subscription Product you selected in the number of equal
installments identified during your purchase. The first installment will be billed immediately upon your
subscription and the remaining number of installments will be billed on a monthly basis thereafter
until your total subscription price has been paid. If you cancel your Subscription Product before
making all of the installment payments, you agree to pay the remaining unpaid balance of the
Subscription Product you selected. Unless you elect not to participate in the auto-renewal option,
your annual subscription will automatically renew on approximately August 1 of the next year at
either the previous year's U.S. Dollar full season rate for the applicable Subscription Product or the
current year's U.S. Dollar full season rate for the applicable Subscription Product, whichever is
lower, for the entire NFL Regular Season (notwithstanding any lesser amount that you may have
paid as a result of subscribing to the Subscription Product after the start of the NFL Regular Season
for the previous year or because of changes in currency exchange rate). However, if the NFL has set
a price in your local currency, you will be renewed at the previous year's local currency full season
rate for the applicable Subscription Product or the current year's local currency full season rate for
the applicable Subscription Product, whichever is lower, for the entire NFL Regular Season
(notwithstanding any lesser amount that you may have paid as a result of subscribing to the
Subscription Product after the start of the NFL Regular Season for the previous year). To cancel the
annual automatic renewal feature for NFL Game Pass (International), you can send an e-mail
togamepass.support@nfl.com, call customer support at (407)-936-0867 between the hours of 12:00
pm and 10:00 pm ET, chat with a customer support representative at NFL.com/subscriptionsupport,
or use the online form found on your "My Account" page. To cancel the annual automatic renewal
feature for NFL Game Pass (Domestic), you can send an e-mail to NFLgamepass.support@nfl.com,
call customer support at (407)-936-0542 between the hours of 12:00 pm and 10:00 pm ET, chat with
a customer support representative at NFL.com/subscriptionsupport, or use the online form found on
your "My Account" page.

(e)Your access may start with a select amount of time in which you may use the Subscription
Product for free (the "Free Trial") depending on certain promotions which may or may not be
offered during the season. Subscription Products that start with a Free Trial will be subject to all
applicable fees following completion of the Free Trial unless you cancel your order in accordance
with the applicable instructions.

For NFL Game Pass (International):

To cancel your Free Trial or subsequent subscription, you can send an e-mail
to accountsupport@nfl.com, call customer support at (407)-936-0867 between the hours of 10:00
am and 10:00 pm ET, chat with a customer support representative at gamepass.support.nfl.com, or
use the online form found on your "My Account" page.

For NFL Game Pass (Domestic):

To cancel your Free Trial or subsequent subscription, you can send an e-mail to account-
support@nfl.com, call customer support at (407)-936-0542 between the hours of 10:00 am and




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10:00 pm ET, chat with a customer support representative at NFL.com/subscriptionsupport, or use
the online form found on your "My Account" page.

The following section only applies to users in France:

Article L. 136-1 of the Consumer Code

The service provider professional informs the consumer in writing, by sending a personalized letter
or e-mail, at the earliest three months and at the latest one month before the end of the period
authorizing the rejection of the renewal, of the possibility not to renew the contract that was
concluded with a clause for tacit renewal. This information, delivered in clear and understandable
terms, states, in a highlighted box, the deadline for terminating the contract.

If this information is not sent to the consumer in accordance with the provisions in the first
paragraph, the consumer can terminate the contract free of charge, at any time starting from the
date of renewal. The advance payments made after the date of renewal or, in the case of permanent
contracts, after the date of transforming the initial contract into a fixed-term contract, are in this case
reimbursed within a period of thirty days starting from the date of termination, net of corresponding
amounts within the execution of the contract. Should there be a default in reimbursement under the
conditions provided herein, the amounts due shall be subject to interest paid at the effective legal
rate.

The provisions in this article apply without prejudice to the provisions in which certain contracts are
legally subject to specific rules regarding consumer data.

The three previous paragraphs are not applicable to operators of drinking water and sanitation
services. They are applicable to consumers and to non-professionals.

(f) In order to provide the highest customer satisfaction possible, we will refund the purchase price
paid for any Subscription Product, as follows:

x   If you have purchased anything other than a Weekly Subscription to a Subscription Product
    (e.g., Season Plus Subscription, Season Subscription, Follow Your Team Subscription,
    Monthly Subscription) and:

    o   your access to such Subscription Product is cancelled by you within seven (7) days of
        the purchase date, we will make a reasonable effort to refund to the payment method
        (e.g., to your credit card) you used to subscribe to such Subscription Product an
        amount equal to the total amount you paid for access to the Subscription Products in
        the current term of your subscription less the amount of a Weekly Pass for such
        Subscription Product. If your access to such Subscription Product is cancelled by you
        after seven (7) days of the purchase date, you will not be eligible for a refund.

    o   your access to the Subscription Product is cancelled by us at any time, we will make a
        reasonable effort to refund to the payment method (e.g., to your credit card) you used to
        subscribe to such Subscription Product a prorated amount equal to the total amount
        you paid for access to the Subscription Product in the current term of your subscription
        times the fraction of the term of your subscription that remains on the date of



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       termination, except if we allege that you have violated the Terms of Use, in which case
       you will not be eligible for a refund

x   If you have purchased a Weekly Subscription to any Subscription Product you will not be
    entitled to any refund if your access to the Subscription Product is terminated.

x   If you have purchased a Season Plus Subscription, Season Subscription, or Follow Your
    Team subscription enrolled in the automatic renewal feature and your access to such
    Subscription Product is cancelled by you within 14 days of the automatic renewal date, we will
    make a reasonable effort to refund to the payment method (e.g., to your credit card) used to
    subscribe to such Subscription Product an amount equal to the total amount you paid for
    access to the Subscription Product in the current term of your subscription.

x   If you made an in-app purchase in the NFL Mobile or NFL Game Pass applications, you may
    be able to obtain a refund from the online store where you made your purchase in accordance
    with the refund policies of that store.

x   If we are unable to post a refund to your credit card, including because your credit card
    account is closed or otherwise unavailable when we attempt to post the refund, or if we allege
    that you have violated the Terms of Use, you agree that you will forfeit the amount due to you
    (if any) under this paragraph. Please note that we may not be able to post refunds for
    subscriptions that are paid for through the use of "single use" credit card numbers or similar
    "disposable" payment methods. We recommend that you do not use these payment methods
    to pay for your subscription to the Subscription Product; if you choose to use them despite our
    recommendation, you do so at the risk that we may not be able to provide you with a refund
    under this paragraph.

Our reasonable effort to provide you with a refund, as described above, will be your exclusive
remedy if you or we terminate your access to the Subscription Products, including in the event that
you claim we breached our obligations to you.

By accepting this Agreement, you agree that we may notify you about changes to prices and/or the
Subscription Products by sending an e-mail message to your e-mail address on file with us and by
publishing such notices from time to time on the informational page(s) of the Site. It is your
responsibility to notify us of any change in your e-mail address by logging in to the Site and using the
online account management tool. If your e-mail service includes functionality or software that
catalogues your e-mails in an automated manner, it is your responsibility to ensure that those e-
mails we send to you reach your inbox, either by routinely monitoring your bulk, junk and/or spam e-
mail folders or by adding us to your address book or safe senders list.

4. Availability

The availability of the Subscription Products may be affected by a variety of factors, including game
delays or cancellations, application of the National Football League's broadcast policy (which
prohibits broadcast of football games under certain circumstances and in certain areas), technical




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problems or network delays, program rescheduling, or other reasons. In addition, please note that
the content accessible via the Products will vary based on your geographic location. You agree that
we are not obligated to provide you with any specific content under this Agreement.

5. Termination

You may request that we terminate your access to a Subscription Product by e-
mailing accountsupport@nfl.com (NFL Game Pass International) andaccountsupport@nfl.com (NFL
Game Pass Domestic). If your access to a Subscription Product has been terminated, you may be
entitled to a refund as set forth in Section 3 above.

For NFL Now termination requests, please contact NFL Now customer support
through http://now.nfl.com/settings/feedback.




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